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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
      JUANA GARCIA, individually and        CASE NO.: 5:21−cv−01796−DSF−SP
 11   on behalf of all others similarly
      situated,                             Judge:   Hon. Dale S. Fischer
 12
                     Plaintiff,             CLASS ACTION
 13
            v.                              ORDER DISMISSING INDIVIDUAL
 14                                         AND CLASS ACTION CLAIMS
      UNIFIRST CORPORATION, a               WITHOUT PREJUDICE
 15   Massachusetts corporation; and
      DOES 1 through 50, inclusive,
 16                                         Complaint filed:     August 30, 2021
                    Defendants.             Removal Date:        October 22, 2021
 17                                         Trial Date:          None set
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  1         Having read and considered the Parties’ Stipulation to Dismiss the Individual
  2   and Class Action Claims herein without Prejudice, and finding good cause, the Court
  3   GRANTS the Stipulation and orders that:
  4         1.     The individual claims of Plaintiff against Defendant are dismissed in
  5   their entirety without prejudice pursuant to the Federal Rules of Civil Procedure, Rule
  6   41(a)(1)(A)(ii).
  7         2.     The class action claims against Defendant are dismissed in their entirety
  8   without prejudice pursuant to the Federal Rules of Civil Procedure, Rule
  9   41(a)(1)(A)(ii). Plaintiff has not sought class certification, a class was not certified,
 10   and no notice was sent to a prospective class.
 11         3.     Except as otherwise agreed upon, each party shall bear his, her, or its
 12   own costs and attorneys’ fees.
 13         4.     The dismissal shall not operate as an adjudication on the merits.
 14         IT IS SO ORDERED.
 15   DATED: November 23, 2021

 16                                           Honorable Dale S. Fischer
                                              UNITED STATES DISTRICT JUDGE
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